                               Case 18-23422-LMI              Doc 76              Filed 04/27/22         Page 1 of 8
  Fill in this information to identify the case:

  Debtor 1              Cecilia Diaz
  Debtor 2              Lazaro Diaz
  (Spouse, if filing)


  United States Bankruptcy Court for the Southern District of Florida
                                                                        (state)
  Case number            18-23422-LMI



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                               12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of
 creditor:                  PennyMac Loan Services, LLC                                  Court claim no. (if known): 2-1

  Last 4 digits of any number you use to                                                 Date of payment change:
  identify the debtor’s account: 3255
                                                                                         Must be at least 21 days after date       06/01/2022
                                                                                         of this notice

                                                                                         New total payment:                        $ 1,991.14
                                                                                         Principal, interest, and escrow, if any



  Part 1:         Escrow Account Payment Adjustment

  1.    Will there be a change in the debtor’s escrow account payment?
             No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                  the basis for the change. If a statement is not attached, explain why: __________________________________________
                  _________________________________________________________________________________________________

                    Current escrow payment: $ 1,009.52                             New escrow payment: $ 1,069.64

  Part 2:         Mortgage Payment Adjustment

  2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-rate
        account?
             No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                  attached, explain why: ______________________________________________________________________________
                  _________________________________________________________________________________________________

                    Current interest rate: _______________%                            New interest rate: _______________%

                    Current principal and interest payment: $ _____________            New principal and interest payment: $ ___________

  Part 3:         Other Payment Change

  3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             No
             Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                 agreement. (Court approval may be required before the payment change can take effect.)

                    Reason for change: ____________________________________________________________________________

                    Current mortgage payment: $ _______________                    New mortgage payment: $ _______________




Official Form 410S1                                Notice of Mortgage Payment Change                                                  page 1
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 Debtor 1 Cecilia Diaz                                                         Case Number (if known)       18-23422-LMI

  Part 4:       Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.

  Check the appropriate box.

       I am the creditor.
       I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



                      X /s/ Iris Kwon                                                             Date    04 / 27 / 2022
                            Signature



      Print:                Iris Kwon,Esq. Bar# 115140                                            Title   Attorney for secured Creditor
                            First Name         Middle Name              Last Name


      Company               De Cubas & Lewis, P.A.

      Address               P.O. Box 771270
                            Number             Street



                            Coral Springs, Florida 33077
                            City                                State   Zip Code

      Contact phone         (954) 453-0365                                                       Email    iris.kwon@decubaslewis.com



I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the Southern District of Florida and I
am in compliance with the additional qualifications to practice in this court set forth in Local Rule 2090-1(A) and that a true and
correct copy of the Notice of Payment Change of PennyMac Loan Services, LLC was delivered to the addressees on the attached
mailing list by First Class U. S. Mail postage pre-paid and or electronically mailed this 27th day of April, 2022.



                                                               De Cubas & Lewis, P.A.
                                                               P.O. Box 771270
                                                               Coral Springs, FL 33077
                                                               Telephone: (954) 453-0365/1-800-441-2438
                                                               Facsimile:    (954) 771-6052
                                                               iris.kwon@decubaslewis.com

                                                               By: /s/ Iris Kwon
                                                               Iris Kwon, Esq.
                                                               Bar Number: 115140




Official Form 410S1                                     Notice of Mortgage Payment Change                                       page 2
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Mailing List for Bankruptcy Case No:18-23422-LMI

U.S. TRUSTEE
OFFICE OF THE US TRUSTEE
51 S.W. 1ST AVE.
SUITE 1204
MIAMI, FL 33130

NANCY K. NEIDICH, TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027

CECILIA DIAZ
691 EAST 35 STREET
HIALEAH, FL 33013

LAZARO DIAZ
691 EAST 35 STREET
HIALEAH, FL 33013

RICARDO CORONA
6700 SW 38 STREET
MIAMI, FL




Official Form 410S1                      Notice of Mortgage Payment Change                   page 3
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                                                                             Escrow Account Disclosure Statement
                                  P.O. Box 514387
                                  Los Angeles, CA 90051-4387
                                                                                      Statement Date: April 6, 2022
                                                                                      Loan Number:

                                                                                      Property Address:
                                                                                      691 E 35 ST
                                                                                      HIALEAH FL 33013

                                                                                         Questions? Visit our website @
                                                                                         www.PennyMac.com
CECILIA DIAZ
LAZARO DIAZ                                                                              (800) 777 - 4001 (Se Habla Español)
691 E 35TH ST                                                                            M - F: 5:00 AM - 6:00 PM PT
HIALEAH, FL 33013-3139                                                                   Sat: 7:00 AM - 11:00 AM PT

Annual Escrow Account Review
At least once each year, PennyMac Loan Services, LLC (“PennyMac”) reviews your escrow account to make sure there
is enough money to pay your property taxes and/or insurance premiums. This statement informs you of any
adjustments to your monthly payment, shows you how much money you currently have in your escrow account and
how much you will need in the next 12 months.
Your New Mortgage Payment
During the next year, your escrow account balance is projected to have a shortage and/or escrow reserve payment
(meaning not enough funds to pay your taxes and/or insurance as they come due). See Your Escrow Shortage and/or
Escrow Reserve section on page 3 for more details.


                                             Current Monthly Payment           New Monthly Payment Amount with
                  Description
                                                     Amount                     Spread Shortage Over 12 Months

         Principal and Interest                       $921.50                              $921.50

         Escrow Payment                               $900.64                              $942.14

         Escrow Reserve Payment                       $108.88                              $127.50

         Total Payment Amount                        $1,931.02                            $1,991.14

Please start making the 'New Monthly Payment Amount' on June 1, 2022. Payments due prior to this date should be
made at the 'Current Monthly Payment Amount' shown.

Projected Escrow Account Activity
Over the next year, PennyMac expects to pay $11,305.73 from your escrow account. Your new monthly escrow
payment is $942.14.
                         Escrow Item Description               Annual Amount          Monthly Amount
                   Flood Ins:                                     $462.00
                   County Tax:                                   $4,517.93
                   Mortgage Insurance:                           $1,519.80
                   Hazard Ins:                                   $4,806.00
                   Total Payments from Escrow:                  $11,305.73   ÷ 12 =       $942.14
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    Projected Escrow Account Activity (Continued)
    Below is a projection of escrow account activity from June 01, 2022 through May 31, 2023. These amounts may change
    when the actual payments become due.

                                                                                                Mortgage
                                            Escrow              Tax           Insurance         Insurance    Projected
                   Month                   Deposit(s)        Payment(s)      Payment(s)        Payment(s)     Balance

      Beginning Escrow Balance                                                                               $1,731.94
      Jun 2022                                $942.14              $0.00        $0.00            $126.65     $2,547.43
      Jul 2022                                $942.14              $0.00        $0.00            $126.65     $3,362.92
      Aug 2022                                $942.14              $0.00        $0.00            $126.65     $4,178.41
      Sep 2022                                $942.14              $0.00        $0.00            $126.65     $4,993.90
      Oct 2022                                $942.14              $0.00        $0.00            $126.65     $5,809.39
      Nov 2022                                $942.14         $4,517.93       $462.00            $126.65     $1,644.95
      Dec 2022                                $942.14              $0.00        $0.00            $126.65     $2,460.44
      Jan 2023                                $942.14              $0.00        $0.00            $126.65     $3,275.93
      Feb 2023                                $942.14              $0.00        $0.00            $126.65     $4,091.42
      Mar 2023                                $942.14              $0.00     $4,806.00           $126.65       $100.91 1
      Apr 2023                                $942.14              $0.00        $0.00            $126.65       $916.40
      May 2023                                $942.14              $0.00        $0.00            $126.65     $1,731.89
      Ending Escrow Balance                                                                                  $1,731.89
      Totals                               $11,305.68         $4,517.93      $5,268.00         $1,519.80
       1
           Lowest projected balance.



    Your Escrow Shortage and/or Reserve

    Based on the projected activity above, our review shows that your escrow balance is less than $0. This means you have
    a deficiency (meaning negative balance) of ($3,358.79), and an additional required balance of $1,530.07 to satisfy the
    reserve. See the lowest projected balance in the table above to find out when this will occur.

                           Lowest Projected Balance                                        $100.91

                           Minimum Required Balance                                       $1,630.98

                           Escrow Shortage and/or Escrow Reserve                          $1,530.07

    PennyMac requires a minimum balance up to one-sixth of the estimated total annual payments from your escrow
    account, unless state law or your mortgage contract requires less, to help cover any unexpected increases in taxes
    and/or insurance. The minimum required balance does not include mortgage insurance.
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           Escrow Account History

           The following is the statement of activity in your escrow account from June 01, 2021 through May 31, 2022.

           Last year, we anticipated that payments from your account would be made during this period equaling $10,807.78.
           Your lowest monthly balance should not have exceeded $1,541.57, or 1/6 of anticipated payments from the account,
           unless your mortgage contract or state law specifies a lower amount.

           The table below shows the Projected and Actual account history for the previous escrow account period.

                        Payments                                      Disbursements                                      Escrow Balance
Month       Projected         Actual         Projected       Description               Actual         Description         Projected            Actual
Beginning Escrow Balance                                                                                                    $1,776.57       ($4,877.81)

Jun 2021        $900.64          $0.00 *       $129.86         MIP/PMI                $129.86           MIP/PMI             $2,547.35       ($5,007.67)

Jul 2021        $900.64          $0.00 *       $129.86         MIP/PMI                $129.86           MIP/PMI             $3,318.13       ($5,137.53)

Aug 2021        $900.64          $0.00 *       $129.86         MIP/PMI                $129.86           MIP/PMI             $4,088.91       ($5,267.39)

Sep 2021        $900.64          $0.00 *       $129.86         MIP/PMI                $129.86           MIP/PMI             $4,859.69       ($5,397.25)

Oct 2021        $900.64          $0.00 *       $129.86         MIP/PMI                $591.86 *    Flood Ins, MIP/PMI       $5,630.47       ($5,989.11)

Nov 2021        $900.64          $0.00 *      $5,031.32 County Tax, Flood Ins,       $4,647.79 *   County Tax, MIP/PMI      $1,499.79   ($10,636.90)2
                                                               MIP/PMI

Dec 2021        $900.64      $8,908.61 *       $129.86         MIP/PMI                $126.65 *         MIP/PMI             $2,270.57       ($1,854.94)
Jan 2022        $900.64      $1,009.52 *       $129.86         MIP/PMI                $126.65 *         MIP/PMI             $3,041.35        ($972.07)

Feb 2022        $900.64      $1,009.52 *       $129.86         MIP/PMI                $126.65 *         MIP/PMI             $3,812.13         ($89.20)

Mar 2022        $900.64      $1,663.06 *      $4,477.86   Lender Paid Hazard,        $4,932.65 *   Hazard Ins, MIP/PMI        $234.91       ($3,358.79)
                                                               MIP/PMI

Apr 2022        $900.64          $0.00 *       $129.86         MIP/PMI                   $0.00 *                            $1,005.69       ($3,358.79)

May 2022        $900.64      $5,217.38 *E      $129.86         MIP/PMI                $126.65 *E        MIP/PMI             $1,776.47        $1,731.94

Ending Escrow Balance                                                                                                       $1,776.47        $1,731.94

Totals       $10,807.68    $17,808.09        $10,807.78                             $11,198.34
      2
       Lowest actual balance.
      An asterisk ‘*’ beside an amount indicates a difference from projected activity, either in the amount or the date.
      The letter ‘E’ beside an amount indicates that the payment has not yet occurred, but is estimated to occur as shown.
      At the time of analysis, PennyMac assumes that you will make all scheduled mortgage payments by or before the effective date of your new
      payment (shown in the Projected Escrow Account Activity section above).
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                                                                      Other Important Information
                                       www.PennyMac.com                                  PennyMac Customer Service:                             PennyMac Loan Services, LLC
                                 Available 24/7 on all your devices:                (800) 777 - 4001                                        Attn: Correspondence Unit
      How to                     PC, Tablet, and Mobile.                                                                                    P.O. Box 514387
                                                                                    M - F: 5:00 AM - 6:00 PM PT
      Contact Us                 El sitio web y las declaraciones están                                                                     Los Angeles, CA 90051-4387
                                                                                    Sat: 7:00 AM - 11:00 AM PT
                                 disponibles en español.                            Fax: (866) 577 - 7205
                                 Go Paperless today!
                                 Auto-Pay *: Enroll in Auto-Pay, on our             Pay-by-Phone: (800) 777-4001                            Check **: Mail to PennyMac:
                                 website, to set up recurring payments from         (Fees may apply to use this service)                    Standard Address: P.O. Box 660929
        How to Make a            the bank account of your choice.                   Western Union:                                          Dallas, TX 75266-0929
        Payment                  Pay Online: Make a one-time payment on             Code City: PennyMac                                     Overnight Address:
                                 our website.                                       Pay To: PennyMac Loan Services                          Attn: Lockbox Operations
                                                                                    Code State: CA                                          20500 Belshaw Ave.
                                                                                    ID Number: Enter Loan Number                            Carson, CA 90746
                                 Property Tax Bills:                                                         General Insurance Questions: (866) 318-0208
                                 If you receive a tax bill, you do not need to take any action. (Please      Insurance Information: Any time there is a change to your insurance
                                 note: Supplemental/ Additional tax bills are the responsibility of the      policy please provide your insurance carrier the following
      Tax and                    homeowner; PennyMac will pay them from the escrow account upon              information:
      Insurance                  request.)                                                                           Mortgagee Clause:
      Information                                                                                                    PennyMac Loan Services, LLC
                                                                                                                     Its Successors and/or Assigns
                                                                                                                     P.O. Box 6618
                                                                                                                     Springfield, OH 45501-6618
      Credit                We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
      Reporting Information be reflected in your credit report.

      Important                  This is an attempt by a debt collector to collect a debt and any information obtained will be used for that purpose. However, if your account
      Consumer                   is subject to pending bankruptcy proceedings or if you have received a discharge in bankruptcy, this statement is for informational purposes
      Information                only and is not an attempt to collect a debt against you personally.

      Requests for prior payment adjustments: To request funds for a prior payment be applied differently, you must notify PennyMac within 90 days of the original
      transaction. After 90 days, we will only change the application of funds if the transaction was applied contrary to your documented instructions.

* If you are enrolled in a PennyMac Auto-Pay program, and received a payment change notification, the new payment amount will be drafted on your scheduled draft date. (The
principal curtailment amount will not change.) If you pay via online bill payment, please update the payment amount with your financial institution to ensure timely processing of your
payment.
** When you pay with a check, you authorize PennyMac either to use information from your check to make a one-time electronic fund transfer (EFT) from your account, or to process the
payment as a check transaction. When we use information from your check to make an EFT, funds may be withdrawn from your account on the same day PennyMac receives your
payment. Please note that your financial institution will not send back your check. If funds are returned unpaid, a return service charge may be assessed to your loan whether processing
your payment as a check or an EFT, as allowed by applicable law.
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In accordance with the Fair Debt Collection Practices Act, 15 U.S.C. section 1692 et seq., debt collectors are prohibited from engaging in
abusive, deceptive, and unfair debt collection efforts, including but not limited to: (i) the use or threat of violence; (ii) the use of obscene or
profane language; and (iii) repeated phone calls made with the intent to annoy, abuse, or harass.

NEW YORK - If a creditor or debt collector receives a money judgment against you in court, state and federal laws prevent the following types
of income from being taken to pay the debt: 1) Supplemental security income (SSI); 2) Social security; 3) Public assistance (welfare); 4)
Spousal support, maintenance (alimony) or child support; 5) Unemployment benefits; 6) Disability benefits; 7) Workers' compensation benefits;
8) Public or private pensions; 9) Veterans' benefits; 10) Federal student loans, federal student grants, and federal work study funds; and 11)
Ninety percent of your wages or salary earned in the last sixty days. PennyMac Loan Services, LLC is registered with the Superintendent of
the New York State Department of Financial Services (Department). You may obtain further information or file a complaint by calling the
Department’s Consumer Assistance Unit at 1-800-342-3736 or by visiting www.dfs.ny.gov.

NORTH CAROLINA - Licensed by the North Carolina Office of the Commissioner of Banks. Complaints regarding the servicing of your
mortgage may be submitted to the Office of the Commissioner of Banks, 316 W. Edenton Street, Raleigh, NC 27603, (919) 733-3016.
Licensed by the North Carolina Department of Insurance. Permit No. 119504607 - 6101 Condor Dr., Suite 200, Moorpark, CA 93021. Permit
No. 119505929 - 14800 Trinity Blvd., Fort Worth, TX 76155. Permit No. 119506567 - 3043 Townsgate Rd., Suite 200, Westlake Village, CA
91361. Permit No. 119506570 - 2201 West Plano Parkway, Suites 150 and 300, Plano, TX 75075. Permit No. 119507419 - 10550 West
Charleston Blvd., Suite A, Las Vegas, NV 89135.

OREGON -  Borrowers: The Oregon Division of Financial Regulation (DFR) oversees residential mortgage loan
servicers who are responsible for servicing residential mortgage loans in connection with real property located in
Oregon and persons required to have a license to service residential mortgage loans in this state. If you have
questions regarding your residential mortgage loan, contact your servicer at (800) 777-4001. To file a complaint
about unlawful conduct by an Oregon licensee or a person required to have an Oregon license, call DFR at
888-877-4894 or visit dfr.oregon.gov.

                                                             Licensing Information


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LLC and/or its subsidiaries or affiliates. Arizona Mortgage Banker License # 0911088. Licensed by the Department of Financial Protection and
Innovation under the California Residential Mortgage Lending Act. Colorado: Colorado office: 700 17th St, Suite 200, Denver, CO 80202,
(833) 216-6680. Massachusetts Mortgage Lender License # MC35953. Minnesota: This is not an offer to enter into an agreement and an offer
may only be made pursuant to Minn. Stat. §47.206 (3) & (4). Licensed by the N.J. Department of Banking and Insurance. Rhode Island Lender
License # 20092600LL. For more information, please visit www.PennyMac.com/state-licenses. Loans not available in New York. Some
products may not be available in all states. Information, rates and pricing are subject to change without prior notice at the sole discretion of
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to lend. Other restrictions apply. All rights reserved. (01-2022)
